USCA Case #21-1082       Document #2031235          Filed: 12/12/2023   Page 1 of 3




              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT



AIR-CONDITIONING, HEATING,
AND REFRIGERATION
INSTITUTE, et al.,
       Petitioners,                                 No. 21-1082
                                                    (c/w Nos. 21-1196 &
             v.                                               22-1062)
UNITED STATES
ENVIRONMENTAL PROTECTION
AGENCY, et al.,
       Respondents.



                  UNOPPOSED MOTION FOR ABEYANCE

      Respondents, the United States Environmental Protection Agency and

Michael Regan, in his official capacity as Administrator of the United States

Environmental Protection Agency (collectively “EPA”), move this Court to hold

these consolidated cases in abeyance for approximately six months (through June

18, 2024), as EPA progresses toward a relevant final agency action.

      EPA has conferred with Petitioners, the Air-Conditioning, Heating, and

Refrigeration Institute, the Association of Home Appliance Manufacturers, the

Consumer Technology Association, the National Association of Manufacturers,

and the National Electrical Manufacturers Association. This motion is unopposed.


                                         1
USCA Case #21-1082        Document #2031235           Filed: 12/12/2023    Page 2 of 3



      Last month, EPA signed a proposed rulemaking under the Toxic Substances

Control Act (“TSCA”), 15 U.S.C. §§ 2601 et seq., with respect to PIP (3:1), i.e.,

phenol, isopropylated phosphate (3:1). See 88 Fed. Reg. 82287 (Nov. 24, 2023).

Public comments are due January 8, 2024. Id. at 82287. Holding these cases in

abeyance would serve the interest of judicial economy because EPA’s final action

respecting the proposed rule could obviate the need for further proceedings here or

refine the questions presented.

      Thus, EPA requests, for good cause shown, and without opposition from any

party, that the Court hold these consolidated actions in abeyance through June 18,

2024, as the agency progresses toward a final agency action under TSCA regarding

PIP (3:1). Prior to that date, the parties will meet and confer and file motion(s) to

govern or other appropriate motion(s), which may include a renewed motion for

abeyance until EPA takes final action.

                                         Respectfully submitted,

                                         TODD KIM
                                         Assistant Attorney General

Dated: December 12, 2023                 /s/ Andrew J. Doyle____________
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                                           2
USCA Case #21-1082      Document #2031235         Filed: 12/12/2023   Page 3 of 3



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                     CERTIFICATE OF COMPLIANCE

      This motion complies with the word limit imposed by Fed. R. App. P. 27(d)

because it contains no more than 381 words. In addition, the motion has been

prepared in a proportionally spaced typeface using Word 2013 in Times Roman

Number 14.

                                     ___/s/ Andrew J. Doyle__________




                                        3
